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                      EXHIBIT F
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                           R                IAN
                INDEPENDENT CONTRACTOR AGREEMENT                            Rev IC.6




                       THIS INDEPENDENT CONTRACTOR AGREEMENT (the"Agreement"                    )entered into effective as of
                 May 28, 20W(the_"eff=p4ive Date"   ), is made by and between Terry Henning, an individual residing at
                     Ws-          510-K         iq            ;(
                                                               -( tie (the "independent Contractor"), and Rivian
                 Automotive, LLC, a Delaware'limited liability company with offices at 13250 North Haggerty Road, Plymouth,
                 Michigan 48170(the"Company"  ).

                                                                     WiTNESSETH


                         WHEREAS, the Company requires certain services in connection with its business, and desires to
                 contract with the Independent Contractor to provide such services; and


                       WHEREAS, the Independent Contractor has certain expertise and desires to provide such services to the
                 Company.


                          NOW, THEREFORE, in consideration of the premises and the mutual covenants set forth herein, the
                 parties hereto agree as follows:


                     1. Services. The Independent Contractor shall perform those services as arc set forth on Exhibit A,attached
                                                                                )
                        hereto and incorporated herein by reference (the"Services" .


                     2.k.

                          (a) In consideration for the Services performed by the Independent Contractor,the Company agrees
                                to pay the Independent Contractor such fees as are set forth on exhibit A. In connection with the
                                foregoing, the Independent Contractor shall provide to the Company during the term of this
                                Agreement any documentation reasonably requested by the Company to support the time
                                expended by the Independent Contractor in the performance of the Services.


                          (b) In addition to the fees payable under Section 2()
                                                                              a as set forth on Exhibit A      the Company
                                agrees to reimburse the Independent Contractor for the out-of-pocket expenses ordinarily and
                                reasonably incurred by the Independent Contractor for the purpose of performing the Services
                                hereunder, provided that such expenses arc approved in advance by the Company. Such
                                reimbursement to be made upon presentment to the Company of receipts, vouchers and other
                                evidence satisfactory to the Company.


                          (c) No amounts other than those payable under Sections 2      (a)and 2.(b). shall be payable by the
                            Company to the Independent Contractor. The Independent Contractor shall be liable for all other
                            expenses, costs and amounts incurred in the performance of the Services hereunder, including
                            without limitation, all withholding of all domestic and/or foreign income taxes (including, all
                            federal, state, provincial and/or local income taxes), the payment and withholding of social
                            security and other payroll taxes, all workers'compensation and other insurance premiums,and the
                            costs and expenses for all supplies required in connection with the performance of the Services
                             hereunder. The Company shall withhold all applicable taxes from amounts payable to the
                             Independent Contractor, without liability to the Company therefor, if such withholding is required
                             by law, and, in such event, require the Service Provider to indicate on each invoice the percentage




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                            employees of the Company.


                3. Term and Termination.      This Agreement shall commence on the Effective Date and conclude on the
                    earlier of(x)the completion of filly (50)full work days in which the Independent Contractor completed
                    services or (y) December 31, 2019, unless earlier terminated as hereinafter provided. This Agreement
                    may be terminated(a)at any time by the Company or(b)at any time by the Independent Contractor upon
                    thin)(30)dm s prior uritten notice thereof to the Company. Upon the termination of this Agreement, the
                    Independent Contractor will immediately return to the Company any properly of the Company in the
                    Independent Contractor's possession. In the event of the termination of this Agreement prior to its
                    scheduled expiration, the Company shall only be liable to pay those fees of Independent Contractor that
                    apply with respect to Services delivered to the Company as of such termination. Notwithstanding
                    anything herein to the contrary, the terms and conditions of, and Independent Contractor's obligations
                    under. Sections 5, E I and S of this Agreement shall survive the expiration or termination of this
                    Agreement. It is the parties' expectation (but not binding obligation) that they would reevaluate the term
                    of this Agreement after a period of six (6) months and discuss a mutually agreed structure moving
                    forward.


                4. independeniContrai
                                    t orSlaluv CovenamED/iligations
                                                                  ..


                      (a) The Independent Contractor acknowledges that the Independent Contractor shall at all times act
                            and perform as an Independent Contractor hereunder and shall not, for any purposes, he deemed
                            an employee of the Company. The Independent Contractor shall have no authority to act for, or
                            on behalfof,or to bind the Company in any manner whatsoever.


                      (b) The Company       will lime no right to control or direct the details, manner or means by nItich the
                            Independent Contractor accomplishes the results ofthe Services performed hereunder.


                      (C) The Independent Contractor covenants and agrees to provide the Services described in Section I
                        and to meet any deadlines set by the Company with respect thereto.


                      (d) Subject to the Independent Contractor's compliance with its obligations set forth in $eetion 7,
                            the Independent Contractor may engage in any other trade or business and provide Services to
                            other customers or clients during the term of this Agreement. wayisigg, that such other trade,
                            business, or service does not conflict with the Independent Contractor's performance of Services
                            under this Agreement.


                      (e) During the term of this Agreement, the Independent Contractor shall maintain in effect and pay
                            all applicable taxes and premiums for all insurance and other programs required by law; together
                            with comprehensive general liability insurance in amounts and with insurers reasonably
                            satisfactory to the Company.


                      (f) All Services shall be personally performed by the Independent Contractor. The Independent
                         Contractor shall not delegate the performance of any Service or any obligation under this
                         Agreement to any person or entity.


                      (g) Unless otherwise explicitly set forth on exhibit A,(i) while the Independent Contractor has the
                           authority to perform the duties specified in this Agreement on behalf of the Company. the
                           Independent Contractor shall not hold itself nut as an agent of the Company or as having any
                           authority whatsoever to bind the Company in any business, contractual, legal, or other matter and
                          (ii) the Independent Contractor shall have no express, implied, or apparent authority to bind the
                           Company to any legal obligation or to execute contracts on behalf of the Company.


                        al) Neither party shall take any actions or make any statements that would indicate that the
                            relationship between the parties is other than that of the Independent Contractors. Nothing in this
                            Agreement shall be construed to create a partnership,joint venture, or any other form of fiduciary
                            relationship.


                      (1) Unless otherwise explicitly set forth on Exhibit A.(i) the Company makes no commitment to the
                         Independent Contractor as to the number of hours the Independent Contractor will be asked to
                         work during the term of this Agreement, (ii) the Company may contact the Independent
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                                    Contractor at its sole discretion when it has a need for the Services and (iii) when the Company
                                    contacts the Independent Contractor, the Independent Contractor is free to accept or decline the
                                    Company's request for Services.


                     5.Representations and Warrantieg.

                             (a) The         Independent Contractor represents and warrants to the Company that the Sen ices
                                    performed hereunder will be performed in a professional manner in conformance with all
                                    policies, rules and schedules established by the Company with respect thereto, in compliance with
                                    all statutes, regulations, ordinances or contracts applicable to the Services covered hereunder, and
                                    in accordance with customary business and trade practices.


                             (b) The Independent Contractor further represents and           warrants to the Company that: (i) the
                                    Independent Contractor has the full right, power and authority to enter into this Agreement and to
                                    be engaged by the Company to perform the Services, (ii) the Independent Contractor's
                                    engagement by the Company and performance of the Services for the Company does not breach
                                    or conflict with the terms of any other agreement or obligation by which the Independent
                                    Contractor is bound.(iii) all information and data submitted by the Independent Contractor to the
                                    Company regarding the independent Contractor in connection with this Agreement is true,
                                    accurate and complete, and (iv) all information and data submitted to the Company by the
                                    Independent Contractor in connection with this Agreement is true, accurate and complete.


                     6.Indemnif
                              ication. The Independent Contractor shall indemnify, defend and hold the Company,its affiliates
                          and the agents and employees of the Company, harmless from and against any and all claims, demands
                          and liabilities,judgments, damages, settlements and expenses (including, without limitation, reasonable
                          attorneys' fees) arising out of or related to any breach of the representations, warranties or covenants of
                          the Independent Contractor contained in this Agreement, or which may be sustained or incurred as a
                          result of any acts or omissions of the Independent Contractor and the agents and employees of the
                          Independent Contractor that result in (i)death or bodily injury to any person,(ii) destruction or damage to
                          any property, or (iii) any violation of any federal, state or local governmental statute, regulation, rule,
                          order,ordinance or code.


                     7. Conf
                           idential         ;In
                                             ' ,cations.


                             (a) The Independent Contractor shall, while engaged by the Company and thereafter, preserve in
                                    confidence all confidential and proprietary information heretofore or hereafter acquired by the
                                    Independent Contractor or disclosed to the Independent Contractor by the Company relating to
                                    the business of the Company, including all business plans, marketing materials, contracts, billing
                                    procedures, fee arrangements, consulting tools, training tools, computer programs, reports, ideas,
                                    projects, designs and/or developments of the Company or in which the Company is interested, all
                                    information regarding the Company's clients, customers, vendors and suppliers (including their
                                    identification, names, locations and files), and all other information of any kind or nature
                                    pertaining to the business of the Company, and the Independent Contractor will not disclose any
                                    such information to any other person or entity without the express prior written authorization of
                                    the Company or make use of such information for the Independent Contractor's personal benefit
                                    or for the benefit of any person or entity other than the Company or to assist others in doing so.


                            (b) The Independent Contractor shall not discuss, disclose, advertise, market or otheruise make
                                    known to others (including, but not limited to, any clients, customers, vendors or suppliers of the
                                    Company) any information relating to any projects or business of the Company or the Services
                                    performed under this Agreement, including, without limitation, mentioning or implying the name
                                    of the Company, or any of its projects, developments, clients, customers, vendors, suppliers,
                                    personnel or Contractors, or the existence or terms and conditions of this Agreement, without the
                                    Company's prior written consent.


                            (C) It is specifically understood and agreed that all business plans, marketing materials, contracts,
                               billing procedures,fcc arrangements, consulting tools, training tools, computer programs, reports,
                              ideas, projects, designs and/or developments of the Company letters, notes, data, sketches,
                              drawings, publications, books, manuals, supplies and other property pertaining to the business of
                              the Company or its operations, arc and shall remain the sole and exclusive property of the
                              Company and that, upon request of the Company, the Independent Contractor shall promptly
                              surrender to the Company all such property and all copies thereof which shall be under the
                              Independent Contractor's control or in the Independent Contractor's possession


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                      (d)The Independent Contractor agrees that,for the consideration smt forth herein, the Company has
                           purchased all right, title and interest in and to all Services pursuant to this Agreement, whether
                           produced by the Independent Contractor or the Independent Contractor's employees or
                           subcontractors,(including, without limitation, all trademarks, trade names, service mark, patents,
                           copyrights, trade secrets and other intellectual property rights with respect thereto), for all uses
                           and that the same shall be "works made for hire", and that the Company will be the sole and
                           exclusive owner of the same. The Independent Contractor hereby assigns any and all rights it
                           may have with respect to die foregoing to the Company, free and clear of any liens, security
                           interests, claims or other encumbrances, and the Independent Contractor hereby releases any and
                           all claims it may have with respect thereto. The Independent Contractor further hereby appoints
                           the Company as its attorney-in-fact with the power to execute any additional documents
                           necessary to further evidence this assignment and/or release, and the Independent Contractor
                           hereby agrees to execute any and all documents and instruments reasonably requested by the
                           Company in connection therewith


                      (e) The Independent Contractor hereby further agrees to assign to the Company the Independent
                            Contractor's entire right, title and interest in and to all ideas, inventions, improvements,
                            developments and designs relating in any way to the projects and developments of the Company,
                            whether patentable or not, made or conceived by the Independent Contractor or jointly with
                            others while performing Services for the Company, together with such patents or applications
                            therefor, as may be obtained or filed thereon in any country; and,at the request and sole expense
                            of the Company, will execute all documents for use in applying for, obtaining and maintaining
                            such patents as the Company may desire, and execute and deliver all formal assignments therefor.
                             The Independent Contractor shall disclose promptly and fully to the Company all said ideas,
                            inventions, improvements,developments and designs.


                      (1) The Independent Contractor hereby acknowledges and recognizes the highly competid%c nature
                            of the businesses of the Company and that the Independent Contractor will have access to
                            proprietary and confidential information regarding the Company's business. Accordingly,for the
                            consideration stated herein,the Independent Contractor hereby agrees that, during the term of this
                            Agreement and continuing thereafter for a period of two (2) years, the Independent Contractor
                            will not directly or indirectly (whether as an owner, principal, lender, stockholder, partner,
                            member, employer, employee, consultant, contractor, subcontractor, representative, distributor,
                            officer, director or otherwise) attempt to or solicit to employ or engage, or employ or engage any
                            employee or independent contractor of the Company,or induce or otherwise advise any employee
                            or independent contractor to leave the employ ofor to cease being engaged by the Company.


                      (g) Notice of immunity Under the Econom ic Esnionaae Act of 1996 as amended by the Defend.
                           Trade Secrets Act of 20(6          Notwithstanding any other provision of this Agreement, the
                           Independent Contractor will not be held criminally or civilly liable under any federal or state
                           trade secret law for any disclosure of a trade secret that is made:(i) in confidence to a federal,
                           state, or local government official, either directly or indirectly, or to an attorney, and in each case
                           solely for the purpose of reporting or investigating a suspected violation of law; or (ii) is made in
                           a complaint or other document that is filed under seal in a lawsuit or other proceeding.

                           If the Independent Contractor files a lawsuit for retaliation by the Company for reporting a
                           suspected violation of law, the Independent Contractor may disclose the Company's trade secrets
                           to the Independent Contractor's attorney and use the trade secret information in the court
                           proceeding if the Independent Contractor files any document containing the trade secret under
                           seal and does not disclose the trade secret,except pursuant to court order.


                      (h) The Independent Contractor shall ensure that all of its employees, personnel, agents and
                           representatives performing services pursuant to this Agreement (or who receive or have
                           possession or access to confidential or proprietary information or intellectual property of the
                           Company)shall abide by and conform to the obligations set forth in this Section 7


                 8. Miscellantou

                      (a) All requests, quotations, notices, demands,consents, and reports provided for in this Agreement
                           shall be in writing and shall be given to the Independent Contractor or the Company (to the
                           attention of General Counsel) at the addresses set forth herein or at such other address as they
                           ma) hereafter specif) thereafter in writing upon deli% cry in person or one (1) day after being
                           deposited with an express overnight courier service, with charges prepaid and return receipt
                           requested, addressed to such addresses.
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                     (b) This     Agreement may not be assigned by the Independent Contractor, and Independent
                          Contractor shall not delegate any of its obligations hereunder, without the prior written consent of
                          the Company. Any purported assignment or delegation without such prior consent shall be
                          deemed to be void and of no effect ab Shaba.


                     (0)The failure of either party to enforce any right under this Agreement will not constitute a waiver
                       ofthat right, or of damages caused thereby,or ofany other rights under this Agreement.


                     (d)This Agreement constitutes the entire agreement ofthe parties with respect to the subject matter
                           hereof and may only be amended or modified by an agreement in writing executed by each of the
                           parties hereto.


                     (e)This Agreement shall be governed by and construed in accordance with the laws of the State of
                          Michigan, without regard to its conflicts of law provisions. Any action or proceeding arising out
                          of or relating to this Agreement shall be brought in the federal or state courts sitting in the
                          jurisdiction of Wayne County, Michigan, and each of the parties hereto irrevocably submits to the
                          exclusive jurisdiction ofeach such court in any such action or proceeding,waives any objection it
                          may now or hereafter have to venue or to convenience offorum, agrees that all claims in respect
                          ofthe action or proceeding shall be heard and determined only in any such court and agrees not to
                           bring any action or proceeding arising out ofor relating to this Agreement in any other court.


                     (f) THE PARTIES HEREBY WAIVE ANY RIGHT TO TRIAL BY JURY IN ANY ACTION OR
                           PROCEEDING ARISING OUT OF OR RELATING TO THIS AGREEMENT, WHETHER
                           NOW EXISTING OR HEREAFTER ARISING, AND WHETHER SOUNDING IN
                           CONTRACT,TORT OR OTHERWISE. THE PARTIES AGREE THAT ANY OF THEM MAY
                           FILE A COPY OF THIS PARAGRAPH WITH ANY COURT AS WRITTEN EVIDENCE OF
                           THE KNOWING, VOLUNTARY AND BARGAINED-FOR AGREEMENT AMONG THE
                           PARTIES IRREVOCABLY TO WAIVE TRIAL BY JURY AND THAT ANY ACTION OR
                           PROCEEDING WHATSOEVER BETWEEN THEM RELATING TO THIS AGREEMENT
                           SHALL INSTEAD BE TRIED IN A COURT OF COMPETENT JURISDICTION BY A JUDGE
                           SITTING WITHOUT A JURY.


                     (g) In the event of a breach or threatened breach by the Independent Contractor of an) of the
                           covenants and restrictions contained in this Agreement, the Independent Contractor
                           acknowledges that the remedy at law would be inadequate and that the Company shall be entitled
                           to an injunction restraining the Independent Contractor from such breach (without requirement to
                           post any bond),in addition to monetary damages and any other remedy provided by law.


                     (h)Neither party shall be liable for a dela) in the performance of its obligations and responsibilities
                          under this Agreement due to causes beyond its reasonable control, including, but not limited to,
                          war, strikes or lockouts, embargoes, national emergency, insurrection or riot, acts of the public
                          enemy, fire, flood or other natural disasters provided that said party has taken reasonable
                          measures to notify the other, in writing,of the delay


                     (1) Any waivcr of any breach of or failure to comply with any provisions of this Agreement shall be
                        in writing and approved and executed by the party which is not in non-compliance with or breach
                        of this Agreement. Any such waiver shall be strictly construed and shall not be interpreted as or
                        constitute a continuing waiver of the relevant provision or a waiver of any other breach of, or
                        failure to comply with, any other provision of this Agreement.


                        )During the term of this Agreement and thereafter, the Independent Contractor shall not make or
                         publish any disparaging or derogatory statements with respect to the Company, or its integrity,
                         business or professional standing or reputation, or that of any of its officers, directors, members,
                         employees, agents or representatives.


                    (k)The parties hereto hereby acknowledge and agree that the restrictions and covenants contained
                          in this Agreement arc reasonable and necessary for the purpose of preserving for the Company,its
                          business and goodwill and other proprietary rights. It is the desire and intent of the panics that
                          the provisions of this Agreement be enforced to the fullest extent permissible under the laws and
                          public policies applied in each jurisdiction in which enforcement may be sought, Accordingly, to
                          the extent any provision hereof is deemed unenforceable by limitation thereon, the parties agree
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                                                                                                                                       4


                                that the same shall, nevertheless, be enforceable to the fullest extent pennissible under the taus
                                and public policies applied in such jurisdiction in which enforcement is sought. Furthermore, if
                                any particular portion of this Agreement be adjudicated as invalid or unenforceable, such portion
                                shall be deleted and such deletion shall apply only with respect to the operation of such portion in
                                the particular jurisdiction in which such adjudication is made and the parties shall execute and
                                deliver such amendatory contractual provisions as are necessary to accomplish lawfully as nearly
                                as possible the goals and purposes of the provision so held to be void or unenforceable,


                        (1) All headings herein are inserted only for convenience and ease of reference and are not to be
                           considered in the construction or interpretation of any provision of this Agreement.


                          On) This Agreement is for the benefit of the parties hereto and is not entered into for the benefit of
                            any other       person or entity.


                        (n) This Agreement may be executed in any number of counterparts, each of which shall be an
                                original and all of which shall constitute one and the same instrument.




                                                                [Signature Page Follows I




             RATAN             Proprtclay and Confidultial IX)NOT DISTRIBUTE      wymaivtanwse
                      IN WITNESS THEREOF,the parties have executed this Agreement as of the Effective Date


                      COMPANY:                                                          INDEPENDENT CONTRACTOR:

                                                                                                             Rivian Automotive
                      Risinn Automotive,LLC                     Terry Henning
                                                                                                           e—DocuSIgned by

                      Signature:                                                             Signature:
                                                                                                               DAC95COFE97841F...

                      Name:               itsri      W      Ativ% • ‘,                                    Steve Gawronski

                      Title:                                                                          vice President, supply Chain


             INDEPENDENT CONTRACTOR AGREEMENT                                    Rev 1C.6
             EXHIBIT A


                A.I            Services.


                      • Serve in the role of Technical Advisor — Body Stamping and Manufacturing for the Company;

                      • Responsible for the development of the Company's stamping processes and capability;

                      • Ensure the Company 's die and stamping tooling specifications are comprehensi% e and appropriate
                         for the Company's facility and future model plans;
                      • Develop a detailed operating plan for the Company's press shop;

                      • Support the sourcing of the Company's stamping tooling and then troubleshooting any issues with
                         respect to such tooling,
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                      The Independent Contractor will be based in the Company's Plymouth. Michigan facility and the
                      Company's manufacturing facility in Normal,Illinois.

                      The Independent Contractor will report to John Lowery (or such other person as is designated by the
                      Company).


                A.2          Egym      / Fcc Tams


                 (a)$2,000 per full workday based on a nine(9)hour daily work schedule(and pro-rated accordingly in
                          the event of partial workdays); pr
                                                           ovided,that a day in which the Independent Contractor is required to
                          travel from one Rivian facility to another Rivian facility will be paid at $1,000 per day.


                  (b) Subject to the approval of the Board of Directors of Rivian Automotive, Inc., the Independent
                          Contractor will be granted an option to purchase 300 shares of common stock of Rivian Automotive,
                          Inc. Such option will vest on the scheduled expiration date of the Agreement (provided that this
                          Agreement is not terminated by the Company or the Independent Contractor prior to such date). The
                          terms of such option grant will be set forth in grant documentation executed by the Independent
                          Contractor and Rivian Automotive, Inc. and will be subject to the terms of the applicable Rivian
                          Automotive, Inc. equity incentive plan.


                  (C) The Independent Contractor will invoice the Company on the first day ofeach month, with payment
                    due thirty (30)days after the invoice date. Invoices should be submitted directly to the Company by
                    mail at the address specified within (to the attention of Accounts Payable), or via email to
                    accountsoayablekixjaasem


                  (d) The         Company will compensate the Independent Contractor for out-of-pocket expenses in
                          accordance with the terms set forth in this Agreement. Request for approval of expenses should be
                          submitted directly to Mark Vinnels, mvinnels@xivitui.com.




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